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                                                      March 31, 2022

BY ECF:

Honorable Cathy L. Waldor, U.S.M.J.
United States District Court for the District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, NJ 07101

         Re:       BRG Harrison Lofts Urban Renewal, LLC v. Accredited Environmental
                   Technologies, et al
                   United States District Court for the District of New Jersey
                   Case No. 2:16-CV-06577-SRC-CLW
                   CONSOLIDATED WITH:
                   Evanston Insurance Company v. Accredited Environmental Technologies, et al
                   United States District Court for the District of New Jersey
                   Case No. 2:17-CV-01584-JMV-JBC

Dear Judge Waldor:

        As counsel for Accredited Environmental Technologies, Inc. (“AET”) in the insurance coverage
portion of the litigation, I want to inform the Court that AET is willing to participate in mediation. Following
up on our prior status report to the Court, there are still outstanding factual discovery matters to be
responded to in this part of the litigation. I have also been advised that other parties (specifically at least
Evanston Insurance Company and J.S. Braddock Agency) in this portion of the litigation are likewise willing
to participate in the mediation process.

                                                      Respectfully,

                                                      Keith N. Leonard
                                                      Keith N. Leonard
KNL/jt
Cc:   All Counsel, via ECF
